Case 2:24-cv-00480- a) Document 1-4 Filed 10/15/24 Page 1 of 100

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Case 2:24-cv-00480-DCN Document 1-4 Filed 10/15/24 Page 2 of 100

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Case 2:24-cv-00480-DCN Document 1-4 Filed 10/15/24 Page 3 of 100

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Case 2:24-cv-00480-DCN Document 1-4 Filed 10/15/24 Page 5 of 100

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Case 2:24-cv-00480-DCN Document 1-4 Filed 10/15/24 Page 6 of 100

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Case 2:24-cv-00480-DCN Document 1-4 Filed 10/15/24 Page 10 of 100
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Case 2:24-cv-00480-DCN Document 1-4 Eil :
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CASE SUMMARY 1~>

CASE NO. CV01-23-09325

Michael Demoura § Location: Ada County District Court
Petitioner, § Judicial Officer: Hippler, Steven
vs. § Filed on: 06/12/2023
State of Idaho § Criminal Case: CR-FE-2015-6232
Respondent. §
CASE INFORMATION
Case Type: Hic- Post Conviction Act
YP& proceedings (District Court)
Case 07/17/2023 Appealed Case -
Status: Supreme Court Appeal
DATE CASE ASSIGNMENT
Current Case Assignment
Case Number CV01-23-09325
Court Ada County District Court
Date Assigned 06/12/2023
Judicial Officer Hippler, Steven
PARTY INFORMATION
Petitioner Demoura, Michael Norman Pro Se
2085903253(W)
Respondent State of Idaho
DATE EVENTS & ORDERS OF THE COURT INDEX
06/12/2023 New Case - Post Conviction Relief
06/12/2023 Bl Civil Case Information Sheet
06/12/2023 TE] Petition for Post-Conviction Relief
06/12/2023 | "fE Motion & Affidavit
in Support for Appointment of Counsel
06/12/2023 | "B Motion & Affidavit
for Permission to Proceed on Partial Payment
06/12/2023 | ‘fel Certificate of Mailing
of Petition for Post Conviction Relief
07/05/2023 | “Blorder
Denying Appointment of Counsel
07/05/2023 * Notice of Intent to Dismiss
07/06/2023 | ‘E]Motion

for Disqualification

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Apa County DisTRICT COURT —

CASE SUMMARY
CASE NO. CV01-23-09325

te Affidavit
of Support of Motion for Rule 40(a) Disqualification

| Letter

to Clerk

=) Order

on Motion for Disqualification

te Response

to Motion of Intent to Dismiss Post Conviction

= Notice of Appeal
of Order Denying Appointment of Counsel

@) Motion for Reconsideration
for Appointment of Counsel

TE] Motion & Affidavit
in Support for Appointment of Counsel

=] Letter

to Clerk

Appeal Filed in Supreme Court

=] Order

Denying Motion to Reconsider
el Order of Dismissal

Judgment

Dismissed With Prejudice (Judicial Officer: Hippler, Steven)

t] Notice of Appeal
of Order Denying Motion for Disqualification to Supreme Court from District Court

Appeal Filed in Supreme Court

e Motion

for Extension of Time to Set Hearing for Oral Argument IRCP 7(B)(3)(H)

= Motion & Affidavit
in Support for Appointment of Counsel

el Motion

for Order of Production of Records and Supporting Affidavit

) Affidavit in Support of Motion
for Production Order of Records

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ApbaA COUNTY DISTRICT COURT

CASE SUMMARY
CASE No. CV01-23-09325

FE Motion

for Order of the Production of Treatment Records

Affidavit in Support of Motion
for the Production of Phycintric Records and Medication Records

e Letter

to Clerk

E] Notice of Appeal
of 7/28/23 Judgment to Supreme Court from District Court

Appeal Filed in Supreme Court

"E) Affidavit

in Support of Notice of Appeal and Motions for Appointment of Counsel and Motions to

Compel the Discovery Production of Records

E Motion & Affidavit
in Support for Appointment of Counsel on Appeal

tT Motion

for Enlargement of Time to File Brief Pursuant to ICR 35 (S4(A)

tf Motion

for Production of Compel to Discovery of Records

t Motion

for Discovery Order of Production of Certain Records on A ppeal

Tf] Motion

for Order to Compel Production of Records

tf Motion

for Order to Compel Production of Records

t Motion & Affidavit
for Permission to Proceed on Partial Payment of Court Fees (Prisoner)

= Letter

to Clerk

fe Order

Denying Post-Judgment Motions

tf Order

Appointing State Appellate Public Defender

Bl Supreme Court Document Filed-Misc
Clerk's Record Due-50958-2023

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Case 2:24-cv-00480-DCN Document 1-4 Filed 10/15/24 Page 17 of 100

NOES - Filed: 08/22/2023 09:55:50
‘ / 4 Fourth Judicial District, Ada County
od " ty # f° : Trent Tripple, Clerk of the Court
aC By: Deputy Clerk - Trottier-Whitsitt, Kari

IN THE SUPREME COURT OF THE STATE OF IDAHO

Michael Demoura Supreme Court Case No. 50958-2023
Petitioner,
vs.
State of Idaho
Respondent.
CLERK’S RECORD ON APPEAL

Appeal from the District Court of the Fourth Judicial District,
in and for the County of Ada

HONORABLE STEVEN HIPPLER

State Appellate Public Defender Raul R. Labrador

Attorney for Appellant Attorney General of Idaho

Boise, Idaho Attorney for Respondent
Boise, Idaho

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Apa County DIsTRicT COURT

CASE SUMMARY
CASE No, CV01-23-09325

2 Affidavit
of Support of Motion for Rule 40(a) Disqualification

FE] Letter

to Clerk

f Order

on Motion for Disqualification

E] Response
to Motion of Intent to Dismiss Post Conviction

Notice of Appeal
of Order Denying Appointment of Counsel

tf Motion for Reconsideration
for Appointment of Counsel

fl Motion & Affidavit
in Support for Appointment of Counsel

B Letter

to Clerk

Appeal Filed in Supreme Court

B Order

Denying Motion to Reconsider

f Order of Dismissal

2) Judgment

Dismissed With Prejudice (Judicial Officer: Hippler, Steven)

e Notice of Appeal
of Order Denying Motion for Disqualification to Supreme Court from District Court

Appeal Filed in Supreme Court

fe Motion

for Extension of Time to Set Hearing for Oral Argument IRCP 7(B)G3)(F)

FE Motion & Affidavit
in Support for Appointment of Counsel

B Motion

for Order of Production of Records and Supporting Affidavit

B Affidavit in Support of Motion
for Production Order of Records

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ADA COUNTY DISTRICT COURT

CASE SUMMARY
CASE No. CV01-23-09325

f Motion

Jor Order of the Production of Treatment Records

fe Affidavit in Support of Motion
for the Production of Phycintric Records and Medication Records

@ Letter

to Clerk

E) Notice of Appeal
of 7/28/23 Judgment to Supreme Court from District Court

Appeal Filed in Supreme Court

B Affidavit

in Support of Notice of Appeal and Motions for Appointment of Counsel and Motions to

Compel the Discovery Production of Records

fe Motion & Affidavit
in Support for Appointment of Counsel on Appeal

B Motion

Jor Enlargement of Time to File Brief Pursuant to ICR 35 (54(A)

fe Motion

Jor Production of Compel to Discovery of Records

@ Motion

for Discovery Order of Production of Certain Records on Appeal

E) Motion

Jor Order to Compel Production of Records

@ Motion

for Order to Compel Production of Records

B Motion & Affidavit
for Permission to Proceed on Partial Payment of Court Fees (Prisoner)

B Letter

to Clerk

Order

Denying Post-Judgment Motions

4) Order

Appointing State Appellate Public Defender

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Case 2:24-cv-00480-DCN Document 1-4 Filed 10/15/24 Page 20 of 100

NO. ——
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JUN 12 2023

CONFIDENTIAL Case Information Shegt en mons GUTIERREZ | 028° Number (Clerk tis n case #):
Fill out this form to start a-General Civil Law cagenuy
The information you give us Is private.

DO.NOT SERVE THIS DOCUMENT ON OTHER PARTIES

Complete this form for each of the parties for whom you are submitting this Initial pleading, Itis.not necessary to
provide information about other parties.

- ‘The personal identifiers collected by the Court below.are collected for the purpose of ensuring that the Court’s party
records are accurale’ and to better differentiate individuals or businesses with.contmon names. It will be used for this
purpose alone and will not be disclosed to the public including the parties in the subject lawsuit,

Information about Party

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Legal name oftbusiness.entity: | W/p oo — | ]

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Jf the accompanying pleading is filed on behalf of more than one party, provide information regarding those additional
parties below.

Information about Party — _ _.
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First Middle Last .

Legal name of business entity: [ —

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COMPLETE INFORMATION FOR ADDITIONAL PARTIES ON ADDITIONAL PAGE(S) IF NECESSARY

GENERAL CIVIL CASE INFORMATION SHEET Revision Anni 22. 2017

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JUN 4:2 2023
‘TRENT TRIPPLE, Clerk:
By CATERINA MORITZ GUTIERREZ
Inmate Name lagers 0 W101) (A
IDOCNo._ Grogs

Address Po ok Au

Petitioner

IN THE DISTRICT COURT OF THE Fovethy JUDICIAL DISTRICT

OF THE STATE OF IDAHO, IN AND FOR THE COUNTY OF _ AQ

ceseNo, CVD|-2.3- 09225
y PETITION AND AFFIDAVIT
vs. ) FOR POST CONVICTION
). RELIEF
Respondent, sodge th pplec
The Petitioner alleges:
1. Place of detention if tir custody: Kasti tN
2. Name and location of the Court which imposed judgement/sentence: FopQys.. = diac :

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=? /
Ada
3. The case number and the offense or offenses for which sentence was imposed:

(a) Case Number: CR \O- “6232 + COIS C932 (a)

\

(b) Offense Convicted: TT sm,

4. The date ypon which sentence was imposed and the terms of sentence:
a. Date of Sentence: \W- AB —Ao\s-
b. ‘Terms of Sentence:

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PETITION FOR POST CONVICTION RELIEF - 1
Revised: 3/24/16 1
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Case 2:24-cv-00480-DCN Document 1-4 Filed 10/15/24 Page 22 of 100 %

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5. Check’ whether a finding of guilty was made aftera plea:
of guilty [ ] Ofnot guilty |
6. Did you appeal from the judgment of conviotion or the imposition of sentence?
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If so, what was the Docket Number of the Appeal? _ N | A |
a State concisely all the grounds on which you base your application for post-

conviction relief} (Use additional'sheets if necessary.)

4

8, Prior to this petition, have you filed with respect to this conviction:

a. Petitions in State or Federal Court for habeas corpus? AIA

b Any other petitions, motions, or applications in any other court? _A la .
e If you answered yes to a orb above; state the name and court in which each

petition, motion or application was filed:

d. __If you filed a prior petition for post-conviction relief in state court, explain
why the claims in this petition were not included inthe prior petition,

PETITION FOR POST CONVICTION RELIEF - 2
Revised: 324/16

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Page 10
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9. If your application is based upon the’failure of counsel to adequately. represent you,

state concisely and in detail what counsel failed to do in representing your interests:

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Cense+T OA. kptadledGe

10, Ate you seeking leave to proceed in forma pauperis, that is, requesting the

proceeding be at county expense? (If your answer is “yes”, you must fill out a

Motion and Affidavit for fee waiver.)
~Qj Yes [ ]No
11, Are you requesting the appointment of counsel to represent you in this case? (If your
answer is “yes”, you must fill out a Motion for the Appointment of Counsel and supporting

affidavit, as well as‘a Motion and Affidavit fee waiver.)

WM Y¥es L1No

12, State specifically the relief you seek: \ / AAT 10-3 OG - Se NIV? NCE
[Ce — Sentantive

PETITION FOR POST CONVICTION RELIEF - 3
Revised: 3/24/16

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13, This Petition. may be accompanied by affidavits in support of the petition, (Forms
for this aré available.)

DATED this C_yday of DO +e WAS

[Pic AAtL J, Demat YWu9

Petitioner

CERTIFICATION UNDER PENALTY OF PERJURY

I certify under penalty of perjury pursuant to the law of the Staté of Idaho that the foregoing is true

and correct,
pave 6/6] a3

Laie :

PETITION FOR POST CONVICTION RELIEF - 4
Revised: 3/24/16

Page 12
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CERTIFICATE OF MAILING

J HEREBY CERTIFY that on the l day of Trace. 20 edd, Tmaileda
-—eopy of this’ PETITION FOR POST CONVICTION RELIEF for the purposes of filing with the
court and of mailing a true and correct copy Via prison mail system to the U.S. mail system to;

A d fr County Prosecuting Attorney

we

PETITION FOR POST CONVICTION RELIEF - 5
Revised: 3/24/16

Page 13

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AFFIDAVIT OF FACTS IN SUPPORT OF POST-CONVICTION PETITION

STATE OF IDAHO )
)ss

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hy C Wal f > (WO (2 , being first. duly sworn.on oath, deposes and says:

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AFFIDAVIT OF FACTS IN SUPPORT OF POST CONVICTION PETITION - 1
Revised: 3/24/16

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‘Burther your affiant sayeth not.

CERTIFICATION UNDER PENALTY OF PERJURY

I certify under penalty of perjury pursuant to the law of the State of Idaho that the foregoing is
true and Tos

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Name Typed/Printed Signature (Viki

AFFIDAVIT OF FACTS IN SUPPORT OF POST CONVICTION PETITION - 2
Revised: 3/24/16

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Case 2:24-cv-00480-DCN Document 1-4 Filed 10/15/24 Page 31 of 100

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JUN 12 2023

TRENT TRIPPLE, Clerk
By CATERIWA MORITZ GUTIERREZ
DEPUTY |

Petitioner

IN THE DISTRICT COURT OF THE. 8) A A JUDICIAL DISTRICT

OF THE STATE OF IDAHO, IN AND:FOR THE COUNTY OF

Mich ne DO emo ;

Petitioner,

MOTION AND AFFIDAVIT IN
SUPPORT FOR
APPOINTMENT OF
‘COUNSEL

Respondent,

aq
zg

COMES NOW, YY. cw Ae Demas (<A, Petitioner in the above _
entitled matter and moves this Honorable Court to grant Petitioner’s Motion for Appointment of

Counsel for the reasons more fully set forth herein and in the Affidavit in Support of Motion for

Appointment of Counsel.

lL Petitioner is currently incarcerated within the Idaho Department of Corrections:

under the direct care, custody and control of Warden QO AY S

Case No. CVO|-25 - 043 25

ofthe Td aby Grieve Co Raerhioual “Trjsx, TRO € on

2. The issues to be presented in this case may become to complex for the Petitioner

to properly pursue. Petitioner lacks the knowledge and skill needed too represent him/herself,

MOTION AND AFFIDAVIT IN SUPPORT FOR APPOINTMENT OF COUNSEL - 1
Revised: 3/24/16

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3,  Petitioner/Respondent required.assistance completing these pleadings, as he/she

was unable to do it him/herself,

_ 4 Other eT Ase. edd OTe Basse AzLIs Mental XWLAags

DATED this [day of, Donre. Dz

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Lite we

AFFIDAVIT IN SUPPORT FOR APPOINTMENT OF COUNSEL

STATE OF. IDAHO )
) ss

County of A AA )

1) iC\jvne Derry IRA _, after first being duly sworn upon his/her oath, deposes

and says as follows:
1. Tam the Affiant in the above-entitled case;

2, Tam currently residing, at the AAI Scare (otmecionat TASUSOTC
under the care, custody and control of Warden Oars

a
,

3. I am indigent and do not have any funds to hire ptivate counsel;

4, 1am without bank accounts, stocks, bonds, real estate or any other form of real
property;

5. Iam unable to provide any other form of security;

6, Jam untrained in the law;

MOTION AND AFFIDAVIT IN SUPPORT FOR APPOINTMENT OF COUNSEL 2
Revised: 3/24/16

Page 17

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7. If I am forced to proceed without counsel being appointed I will -be unfairly
handicapped in competing with trained and competent:counsel of the State;
Further your affignt sayeth naught.
WHEREFORE, Petitioner respectfully prays that this Honorable Court issue
it’s Order granting Petitioner’s Motion for Appointment of Counsel to represent his/her interest,

or in the alternative grant any such relief to which it may appear the Petitioner is entitled to.

DATED This £ day of day ee 20 23
hina, Lf A Attys
Petifidner Ce? 7 VO

CERTIFICATION UNDER PENALTY OF PERJURY

I certify under penalty of perjury pursuant to the law of the State of Idaho that the foregoing is

true and correct,

Date lo | o 3 TY

Wiley Verma Re Oy, yf /
Typed/Printed Signature te

MOTION AND AFFIDAVIT IN SUPPORT FOR APPOINTMENT OF COUNSEL - 3
Revised: 3/24/16

Page 18
Case 2:24-cv-00480-DCN Document 1-4 Filed 10/15/24 Page 34 of 100

CERTIFICATE OF MAILING

1 HEREBY CERTIFY that on the (4 day of Zine ___ 20 23,1
mailed a copy of this MOTION AND AFFIDAVIT IN SUPPORT FOR APPOINTMENT OF
COUNSEL for the purposes of filing with the court and of mailing a true and correct copy via

prison mail system for processing to the U.S, mail system to:

Ad B County Prosecuting Attorney
Add Sl Ru Stiece tT Reors BL
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MOTION AND AFFIDAVIT IN SUPPORT FOR APPOINTMENT OF COUNSEL - 4
Revised: 324/16

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NO,
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JUN 12 2023

TRENT TRIPPLE; Clerk
By CATERINA MORITZ GUTIERREZ

Wrorwper 0 Demaot

Full Name of Party Filing Document

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IN THE DISTRICT COURT FOR THE ae JUDICIAL DISTRICT
FOR THE STATE OF IDAHO, IN‘AND FOR THE COUNTY OF Wa A

Newman Oemoraa . | CaseNo. CVO|-23-093825-
Plaintiff, _
ve PERMISSION TO PROCEED ON PARTIAL
S Tete OF Taarly __ | PAYMENT OF COURT FEES (PRISONER)
Defendant.

IMPORTANT NOTICE: Idaho Code § 31-3220A requires that you serve upon counsel for
the cotinty sheriff, the department of correction or the private correctional facility,
whichever may apply, a copy of thls motion and affidavit and any other documents filed

in connection with this request. You must file proof of such service with the court when
you file this docurnent

C1 Plaintiff 1 Defendant asks to start or defend this case on partial payment of court fees,
and certifies .

1. This is an action for (type of case) osx Cds cP (Gn\ |
believe | am entitled to get what| arm asking for.

2, YO have not previously brought this claim against the same party or a claim based on
the same operative facts In any state or federal court. [7]| have filed this claim agalnst the
same party or a claim based on the same operative facts in a state or federal court.

3. | am unable to pay all the court costs now. | have attached to this affidavit a curvent
Statement of my inmate account, certifled by a custodian of inmate accounts, that reflects the

MOTION AND AFFIDAVIT FOR PERMISSION TO PROGEED PAGE 4

ON PARTIAL PAYMENT OF COURT FEES (PRISONER)
CAO FW 1-14 07/01/2016

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activity of the account over my perlod of incarceration or for the last twelvé (12) months,
whichever Is less.

4. | understand | will be required to. pay an lntia! partial filing fe In-the amount of 20% of the
greater of: (a) the average monthly deposits to. my Inmate account or (b) the average monthly:
balance In my Inmate account for the last slx (6) months. | also.understand that | must pay the.
remalnder of the filing fee by making monthly payments of 20% of the preceding month's
jncome in my inmate account until the fee Is paid in full.

5. | verify that the statements made In this affidavit are true, | understand that a false
statement In this affidavit Is perjury and | could be sent to prison for an additional fourtaen (14)

years:

(Do not leave any items blank. {f any item does not apply, write "N/A". Attach additional pages if more'space Is
needed for any response.)

IDENTIFICATION AND RESIDENCE).

Name(Lich att Oernouia pe Other name(s) | have used: re / s

Address, PO VaOK SY (aeige MS YRwWe
How long at that address’, 3 pas Phone; 4s
Year and place of birth:: Ie oe G agape ef yr psec hoe exh

DEPENDENTS;

| a] single (_] mamied. Ifrmartied, you must provide the following information:
Name of spouse:

My other dependerts Including minor children (use ‘only initials and age to Identify children) are:

INCOME: .
‘Amount of my income: $ ( ) per (] week (j month

MOTION AND AFFIDAVIT FOR PERMISSION TO PROCEED. PAGE 2

ON PARTIAL PAYMENT OF COURT FEES (PRISONER)
CAO FW 4-14 07/04/2016

Page 21
Case 2:24-cv-00480-DCN Document 1-4 Filed 10/15/24 Page 37 of 100

Other than my inmate account| have outside money from: 3:0 Wha pe.

My spouse's income:$__ per [_} Week [J]. month.

ASSETS:
List all rea! property (land-and bulldings) owned or being purchased by you.

‘Your. Legal
Address City State Description Value Equity

List all other property owned by you and state its value.

Description (provide description for each Item)

Value

Cash ©
Notes and Receivables__ OQ _.
Vehicles >
‘Bank/Credit Union/Savings/Checking Accounts {>
Stocks/Bonds/Investments/Certificates of Deposit ©.
Trust Funds OQ
Retirement AccountsRAs/401(k)s ©
Cash Value Insurance ™
Motorcycles/Boats/RVs/Snowmoblles —
Furniture/Appliances OQ
Jewelry/Antiques/Collectibles 2
Description (provide deseription for each item)

TVs/Stéreos/Computers/Electronics 2
Tools/Equipment 2
Sporting Goods/Guns ©
Horses/Livestack/Tack, ©
MOTION AND:AFFIDAVIT FOR PERMISSION TO PROCEED PAGE 3

ON PARTIAL PAYMENT OF COURT FEES (PRISONER)
GAO FW 1-44 07/01/2016

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Other (describe) O
EXPENSES: {List all of your monthly expenses.)
Average
Expense Monthly Payment
Rent/House Payment, ©
Vehicle Payment(s) A:
Credit Cards (List last four digits of each account number.)
_©
CG
O
Loans (name of lender and reeson forloan)
©
©
Electricity/Natural Gas, C>
Water/Sewer/Trash C
Phone
Groceries f
Clothing ©
Auto Fuel, (>
Auto Maintenance, OQ
Cosmetics/Haircuts/Salons 15
Entertalnment/Books/Magazines, S
Home Insurance ©
MOTION AND AFFIDAVIT FOR PERMISSION TO PROCEED PAGE 4
ON PARTIAL PAYMENT OF COURT FEES (PRISONER)
CAO FW 1-14 07/01/2016

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Average

Expense Monthly Payment
Auto Insurance eb
Life Insurance Oo
Medical Insurance So
Medical Expense_ CS
Other 6

GC
MISCELLANEOUS:
How much can you borrow? $__(-- ) From whom?

When did you file your last Income tax return? es 2¢ ) _ Amount of refund: SAA CRD

PERSONAL REFERENCES: (These persons must be able to veitfy Information provided.)

Name Address Phone Years Known

Td AoOmtor \Q3 Gs Aden Se Lima PA bye— STS
CERTIFICATION UNDER PENALTY OF PERJURY

| certify under penaity of perjury pursuant to the law of the State of Idaho that the foregoing Is

true and 1)
Date: ¢ Al > 3
AE
Typed/printed , Signétute 7 Ne
MOTION AND AFFIDAVIT FOR PERMISSION TO PROCEED PAGE 5

ON PARTIAL PAYMENT OF COURT FEES (PRISONER)
CAO FW 1-14 07/01/2016

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Case 2:24-cv-00480-DCN Document 1-4 Filed 10/15/24 Page 42 of 100

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Filed: June 12, 2023 at 10:01 AM
Fourth Judicial District, Ada County
Trent Tripple, Clerk of the Court

By: Caterina Moritz Gutierrez, Deputy Clerk

IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT OF THE
STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

Michael Demoura Case No. CV01-23-09325
Petitioner,
vs. Certificate of Mailing
State of Idaho
Respondent.

|, Caterina Moritz Gutierrez, the undersigned authority, do hereby certify that | have mailed, by
United States Mail, one copy of the: Petition for Post Conviction Relief to each of the parties

or attorneys of record in this cause in envelopes addressed as follows:

Michael Norman Demoura [ ] By E-mail [X] By mail
#65065 [ ] By fax (number)

PO Box 14 [ ] By overnight delivery / FedEx
Boise, ID 83707 [ ] By personal delivery

adacountyprosecutor@adacounty.id.gov [X] By E-mail
ageddes@adacounty.id.gov
public.defender@adacounty.id.gov

Trent Tripple
Clerk of the District Court
Dated: 06/12/2023 By: Caterina Moritz Gutierrez
Deputy Clerk
MG Certificate of Mailing Page 1 of 1

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IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICEQRTHEbPLE. clerk
STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA By ANNA MEYER

MICHAEL N. DEMOURA,
Petitioner, ‘Case No. CV01-23-09325
VS. ORDER DENYING
APPOINTMENT OF COUNSEL
STATE OF IDAHO,
Respondent.

1, INTRODUCTION

On June 12, 2023, Petitioner filed a combined Petition for Post-Conviction Relief and
Affidavit in Support (collectively, Petition”) arising from his underlying criminal case, Sate v.
Demoura, Ada County Case No. CR-FE-2015-6232, His claims consists of ineffective assistance.
of both trial and appellate counsel, misconduct by the prosecutor and law enforcement, and error
by the trial judge at sentencing. Petitioner has requested appointment of counsel in connection
with his Petition,’ The Court finds that his Petition is frivolous and, thus, counsel at public
expense is not required.
Il. STANDARD

The decision to grant or deny a request for court-appointed counsel in a post-conviction
proceeding is discretionary. Hust v. State, 147 Idaho 682, 683, 214 P.3d 668, 669 (Ct. App.
2009). Consequently, the court must: 1) correctly perceive the issue as one of discretion; 2) act
within the outer boundaries of its discretion; 3) act consistently with the legal standards
applicable to the specific choices available to it, and; 4) reach its decision by the exercise of
reason, Lunneborg v. My Fun Life, 163 Idaho 856, 863, 421 P.3d 187, 194 (2018).
I. BACKGROUND

In underlying criminal case giving rise to Petitioner’s claims, Petitioner was indicted on

several offenses, ultimately pleading guilty to two counts of felony intimidation of a witness,

1 Petitioner also filed a motion to proceed on partial payment of court fees. However, there are no filing fees:for a
petition for post-conyiction relief. Thus, the motion is denied as moot.

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misdemeanor Violation of.a no-contact order, and misdemeanor possession ofa. controlled
substance, This Court issued.a Judgment of Conviction, Order Retaining Jurisdiction and
Commitment on December 23, 2015; After a period of retained jurisdiction; the Court suspended
the sentence atid placed Petitioner on probation. Claiming the sentence was éxcessive, Petitioner
appealed, The Court of Appeals affirmed and issuéd a Remittitur on March 13,2017.?

‘Petitioner was atrested'on.an Agenit’s Warrant-for anew ctime-shortly thereafter, Finding
Petitioner knowingly and willfully violated his probation, this Court revoked probation and
reinstated the underlying sentence on August'29, 2017. Petitioner then-filed.a Notice of Appeal
based'on “use of false information from probation officer as used in:sentencing hearing also
numerous other claims” but the appeal was dismissed'by the Idaho Supreme:Court anda
Remittitur was issued on N overiber 16,2017.

‘In the méantime, Petitioner filed his first Petition for Post-Conviction Relief, Demoura v.
State, CV01-17-7207. (“First Petition”), In his First Petition, Petitioner assetted approximately
fourteen different claims, the majority being ineffective assistance of trial counsel. These
included'complaints about counsel lying about, withliolding and failing to investigate evidence in

his case and pressuring him to plead guilty. He also included claims regarding allegedly flawed

or false sétitencing information, Counsel was appointed, After consulting with counsel; Petitioner

subsequently filed a motion to withdraw his petition, explaining the action will “most likely be:
futile and [Petitioner] does not wish.to expend anymore [sic]'time and energy pursuing the
action.” The Court dismissed the Petition without prejudice?
IV, ANALYSIS

A request for appointment of counsel in.a post-conviction proceeding is governed by 1.C.
§ 19-4904, which provides that in proceedings under the UPCPA, a court-appointed attorney

2 State x. Demowra, 2017 WL-128581 (Idaho-Ct, App., Jan. 13, 2017).

3 Pursuant to IRE 201(c), the Court takes judicial notice of thé followings documents from State v. ‘Dentoura, Ada
County Case No, CR-FE-2015-6232: 1) Indictment-(June 16, 2015); 2) Guilty Plea Advisory and Form (Oct. 28,
2015); 3) Judgment of Conviction, Order Retaining Jurisdiction and Commitment (Dec, 23, 2015); 4) Order
Suspenditig Sentence After Retained Jurisdiction and Order of Probation (July 29, 2016);.5) Order on‘Probationer
Arrest on Agent’s Warrant (May 3, 2017); 6) Order of Revocation of Probation, Imposition of Sentence and
Commitment (Aug. 29, 2017); 7) Notice of Appeal (Sept. 1, 2017); 8) Order Dismissing Appéal (Oct. 20, 2017).and
Demoura y. State, Ada County Case No. CV01-17-7207: 1) Petition and Affidavit for Post-Conviction Relief (April
17, 2017); 2) Order Granting Motion for Appointment of Counsel (April 27, 2017); 3) Motion. to Withdraw Petition.
(July 25, 2017); 4) Statement of Counsel for Petitioner (July 25, 2017); 5) Judgment (Aug, 9, 2017).

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“may be made available” to an applicant who is unable to pay the costs of representation. 1.C. §
19-4904; Charboneau ¥, State, 140 Idaho 789, 792, 102 P.3d 1108, 11:11 (2004), The standard
for determining whether to appoint-counsel for an indigent petitioner in a post-conviction
proceeding is whether the petition alleges facts showing the possibility of a valid claim.
Workman y. State, 144 Idaho 518, 529, 164 P.3d 798, 809 (2007); “In deciding whether the.pro
s¢ petition raises the possibility of'a valid claim, the trial court should consider whether the facts
alleged are such that a reasonable person with adequate means wotild be willing to retain counsel
to conduct a further investigation into the claims.” Swader v, State, 143 Idaho 651, 654, 152 P.3d
12, 15.(2007), Although “the petitioner is not entitled'to have counsel appointed in order to
search the record for possible nonfrivolous claims,” counsel should be appointed if the facts
alleged raise the possibility of a valid claim. 7d.

Under this standard, the Court finds Petitioner’s claims are devoid of any possible meiit
based on their untimeliness, Under Idaho Code § 19-4902(a), applications for post-conviction
relief must be filed “within one (1) year from the expiration of the time for appeal or from the
determination of an appeal or from the determination of a proceeding following an appeal,
whichever is later.” In this case, the last remittitur in the underlying criminal.case was issued on
November 16, 2017, after the Idaho Supreme Coutt dismissed his second appeal from the
underlying criminal case, Therefore, the time period for filing a petition for post-conviction relief
expired, at the latest, by November 16, 2018. The present Petition, filed June 12, 2023, is nearly
five years past the deadline.

Evidently cognizant of the untimeliness of his Petition, Petitioner has alleged that:his case
“involves evidence of material facts that have not been previously presented that the defendant
uncovered when he was given a copy of his case file 60 days ago by the Ada County Public
Defender’s Officer which whoud [sic] require the vacation of his sentence [sic] and the order of a
new trial in the interest of justice.” Affidavit in Support of Petition, p. 1, He appears to imply by
this statement that equitable tolling of I.C. § 14-4902(a) is warranted,’

“The standard for application of equitable tolling in post-conviction actions is a stringent

‘ Petitioner also contends that “[s]ubject to the provisions of section 19-4902(a) through (f) Idaho Code that the
petitioner is innocent of the offence.” Petition, § 7(c). To the extent he is asserting innocence as a basis to toll the
statute of limitations, the Idaho Supreme Court recently clarified that a claim of innocence under Schlup v. Delo, 513
U.S. 298 (1995) does not apply in noncapital state post-conviction cases, Hooley v. State, 2023 WL 2604004, at *8
(Idaho Mar. 23, 2023),

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one.” Schiltz v, State, 151 Idaho 383, 386, 256 P.3d 791, 794 (2011); see also Mahler v. State,
157 Idaho 212, 215, 335 P.3d 57, 60 (2014) (noting ‘bar for equitable tolling in post-conviction
cases is high), Equitable tolling ‘is allowed if a petitioner is unable to timely file a petition ‘for
post-conviction relief due to extraordinary circumstances beyond his effective. control or if some
unlawful state action has hidden from the petitioner the facts underlying the claim, ‘Sc/uliz, 151
Idaho at 386, 256 'P.3d at 794; see also Mahler, 157 Idaho at'215,.335 P,3d at 60 (noting courts:
only apply equitable tolling in rare and exceptional circumstances beyond petitioner's control).
Equitable tolling is not-allowed for “a petitionér's own inaction.” Schultz, 151 Idaho at 386. 256.
P.3d at 794..

The petitioner béars the burden of showing the circumstances warrant the tolling of the
one-year statute of limitation. Kriebel v. State, 148 Idaho 188, 190, 219 P.3d 1204, 1206 (Ct.
App. 2009). Petitioner-has made no effort to carry: this burden in his Petition, He has not
identified what material facts he just learned of, how those facts relate to his claims,-or why he
was only able to get his file from the Ada County Public Defender sixty days prior to filing the
Petition, Moreover, the Court notes that the claims alleged in the Petition overlap significantly
with those. brought in the First Petition, thus indicating that they are not based new information,
but material that Petitioner has long known..Consequently, even if Petitioner expressly raised
equitable tolling in his Petition to excuse its:tntimeliness, he has not presented any information
such that a reasonable person with adequate means would be willing to retain'counse} to-conduct
a further investigation into the claims.

Based on the untimeliness of the claims and the lack of allegations supporting the
application of equitable tolling, the Court finds the Petition is not one which a reasoriable person:
with adequate means would be willing to bring at his own expense and, therefore, is frivolous.
Accordingly, in its discretion, the Coutt DENIES Petitioner’s Motion for Appointment of
Counsel.

IT IS SO ORDERED,

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DATED this 3 day of dame, 2023.

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District Judge

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CERTIFICATE OF SERVICE.

I hereby certify that on

AVADZI mailed (served) a true-and correct copy of
the ORDER DENYING APPOIN ENT OF COUNSEL to:

ADA COUNTY PROSECUTOR'S OFFICE
VIA EMAIL: acpocourtdocs@adacounty.id.gov

( ) U.S. Mail, Postage Prepaid
(_) Interdepartmental Mail
(X) Electronic Mail

( )'Facsimile

Michael Demoura

IDOC No. 65065

Idaho State Correctional Institute
P.O. Box 14

Boise, ID 83707

(X) U.S. Mail, Postage Prepaid

| ( )Interdepartmental Mail

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ADA COUNTY PUBLIC DEFENDER’S OFFICE
VIA EMAIL: public.defender@adacounty,id.gov

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TRENT TRIPPLE, Clerk,
By ANNA MEYER

IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT OF THE"

STATE OF IDAHO, IN AND-FOR THE COUNTY OF ADA

MICHAEL N. DEMOURA,
Petitioner, Case No. CV01-23-09325
VS. NOTICE OF INTENT TO DISMISS
STATE OF IDAHO,
Respondent.

I INTRODUCTION

On June 12, 2023, Petitioner filed'a. combined Petition for Post-Conviction Relief and
Affidavit.in Support (collectively, “Petition”) arising from his underlying criminal ¢ase, State v:
Demoura, Ada County:Case ‘No. CR-FE-2015-6232, His claims-consist of ineffective assistance
of both trial and appellate counsel; misconduct by the prosecutor and law enforcement and error
by the trial judge at sentencing. Based on the record!, this Court is satisfied that Petitioner is not
entitled to post-conviction relief and no purpose would:be served by further proceedings.
Consequently, the Court hereby provides the parties with notice.of its intent to dismiss pursuant
to 1.C. § 19-4906(b),
Il, STANDARD

A petition for post-conviction relief commences a civil, rather than criminal, proceeding,

which is governed by the Idaho Rules of Civil Procedure, State v. Yakovac, 145 Idaho 437,443,
180 P.3d 476, 482 (2008). The petitioner must prove by.a preponderance of evidence the
allegations upon which the request for post-conviction relief is based, LC. § 19-4907; Schuliz v.

' Pursuant to IRE 201(c), the Court takes judicial notice of the followings documents from Siafe v. Demoura, Ada
‘County Casé No. CR-FE-2015-6232: 1) Indictment (June 16; 2015);.2) Guilty Plea Advisory and Form (Oct. 28,
2015); 3) Judgment of Conviction, Order Retaining Jurisdittion and Commitment (Dec. 23, 2015); 4), Order
Suspending Sentence After Retained Jurisdiction and Order of Probation (July.29, 2016), 5) Order on Probationer
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Demoura y. State, Ada County Case No. CV01-17-7207: 1) Petition and Affidavit for Post-Conviction Relief (April
17,2017); 2) Order Granting Motion for Appointment of Counsel (April 27, 2017); 3) Motion to Withdraw Petition
(July 25, 2017); 4) Statement of Counsel for Petitioner (July 25, 2017); 5) Judgment (Aug. 9, 2017).

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State, 153 Idaho 791, 795-796, 291 P.3d 474, 478-479 (Ct. App. 2012), review denied (Dec. 14,
2012). A petition for post-conviction relief differs from-a.complaint in an ordinary civil action,
however, in that it must contain more than “a-short and plain statement of the claim” that would
suffice for a complaint under I.R.C.P. 8(a)(1). State v. Payne, 146 Idaho 548, 560, 199:P.3d 123,
135 (2008). The petition must be verified with respect to facts within the personal knowledge of
the petitioner, and affidavits, records or other evidence supporting its allegations must be:
attached, or the pétition:must state why such supporting evidence is not included, 1.C.. § 19-4903,
In other words, the petition must present or be accompanied by admissible evidence supporting
its allegations, or it will be subject to dismissal. Wolf v. State, 152 Idaho 64, 67;.266 P.3d 1169,
1172 (Ct, App. 201.1); Roman y, State, 125 Idaho 644, 647, 873 P.2d 898, 901 (Ct..App. 1994),

Idaho Code § 19-4906 authorizes summary dismissal of an-application for post-
conviction relief, either pursuant to motion of a party or upon the trial court's own initiative.
Summary dismissal of an application is the procedural equivalent of summary judgment under
LR.C.P. 56. Yakovac, 145.Idaho at 444, 180 P.3d at 483, Summary dismissal is permissible only
when the applicant's evidence has raised no genuine ‘issue of material fact that, if resolved in the
applicant's favor, would entitle the applicant to the relief requested. Jd. “A material fact has
‘some.logical connection with the consequential facts [,]’...and therefore is determined by its:
rélationship to the legal theories presented by the parties.” Ja, quoting Black's Law Dictionary,
991 (7th éd.1999).. If such a factual issue is presented, an evidentiary heating must be conducted.
Id.

Although the district court must construe disputed facts in the petitioner’s favor, the court
is not required to accept either the petitioner’s mere conclusory allegations, unsupported by
admissible evidence, or the petitioner’s conclusions of law. Payne, 146 Idaho at 561, 199 P.3d at
136; Roman, 125 Idaho at 647, 873 P.2d at 901. Moreover, because the district court rather than
a jury will be the trier of fact in the event of an evidentiary hearing; the district court is not
constrained to draw inferences in the petitioner's favor, but is free to arrive at the most probable:
inferences to be drawn from the evidence. Yakovac, 145 Idaho at 444, 180 P.3d at.483; Wolf, 152
Idaho at 67, 266 P.3d at 1172.7

Claims may be summarily dismissed if the petitioner’s allegations are clearly disproyen

? Such inferences will not be disturbed on appeal if the uncontroverted evidence is sufficient to justify them. Chavez
y. Barrus, 146 Idaho 212,218, 192 P.3d 1036, 1042 (2008),

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by the record of the criminal proceedings, if the petitioner has not presented admissible evidence
making a prima facie case as to each essential element of the claims, or if the petitioner’s
allegations do not justify relief as a matter of law. Kelly v. State, 149 Idaho 517, 521,,236 P.3d:
1277, 1281 (2010); McKay v. State, 148 Idaho 567, 570, 225 P.3d 700, 703-(2010). Thus,
summary dismissal of a claim for post-conviction relief is appropriate when the court can
conclude, as a matter of'law, that the petitioner is not entitled to relief even with all disputed
facts construed in the petitioner's favor. For this reason, summary dismissal of a post-conviction
petition may be appropriate even when the State does riot controvert the petitioner's evidence.
Payne, 146 Idalio at 561, 199 P.3d at 136; Roman, 125 Idaho at 647, 873 P.2d at 901.
Ill. BACKGROUND

In underlying criminal:case giving rise to Petitioner’s claims, Petitioner was indicted on
several offenses; ultimately pleading guilty to two counts of felony intimidation of a witness,
misdemeanor Violation of a no-contact order, and misdemeanor possession of a controlled
substance. This Court issued a Judgment of Conviction, Order Retaining Jurisdiction and
Commitment on December 23, 2015, After'a period of retained jurisdiction, the Court suspended
the sentence and placed Petitioner on probation. Claiming the sentence was excessive, Petitioner
appealed, The Court of Appeals affirmed and issued a Remittitur on March 13, 2017.3

Petitioner was arrested on an Agent’s Warrant for a new crime shortly thereafter. Finding
Petitioner knowingly-and willfully violated'his. probation, this Court revoked probation and
reinstated the underlying sentence on August 29; 2017. Petitioner then filed a Notice of Appeal
based on “use of false information from probation officer as used in sentencing hearing also
numerous other claims” but the appeal was dismissed by the Idaho Supreme Court and a
Remittitur was issued on November 16, 2017.

In the meantime, Petitioner filed his first Petition for Post-Conviction Relief, Demoura v.
State, CV01-17-7207. (“First Petition”). In his First Petition, Petitioner asserted approximately
fourteen different claims, the majority being ineffective assistance of trial counsel. These
included complaints about counsel lying about, withholding and failing to investigate evidence in
his case and pressuring him to.plead guilty. He also included claims regarding allegedly flawed

or false sentencing information. Counsel was appointed. After consulting with counsel, Petitioner

3 State v. Demoura, 2017 WL 128581 (Idaho Ct. App., Jan. 13, 2017).

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subsequently filed a:motion to withdraw his petition, explaining the action will “most likely be
futile and [Petitioner] does not wish to expend anymore {sic] time and energy pursuing the
action.” The Court dismissed the First Petition without prejudice.

IV. ANALYSIS

A. The Claims are Untimely.

As noted in the contemporaneously-filed Order Denying Appointment of Counsel, the
Court finds dismissal of Petitioner’s claims warranted based on their untimeliness. Under Idaho:
Code § 19-4902(a), applications for post-conviction relief must be filed “within one (1)’year
from. the expiration of the time for appeal or from the determination of an appeal or from the:
determination of a proceeding following an appeal, whichever is later.” In this-case, the last
remittitur in the underlying criminal case was issued on November 16, 2017, after the Idaho
Supreme.Court dismissed his second appeal from the underlying criminal case. Therefore, the
time period for filing a petition for post-conviction relief based on the underlying criminal case:
expired, at the latest, by November 16, 2018. The present Petition, filed June 12, 2023, is nearly
five years past the deadline.

Evidently cognizant of the untimeliness of his Petition, Petitioner has alleged that his case
“Gnvolves evidence of material facts that have not been previously presented that the defendant
uncovered when he was given a copy of his case file 60 days ago by the Ada County Public
Defender’s Officer which whoud [sic] require the vacation of his sentence [sic] and the order of a
new trial in the interest of justice.” Affidavit in Support of Petition, p. 1. He appears to imply by
this statement that equitable tolling of I.C. § 14-4902(a) is warranted.

“The standard for application of equitable tolling in post-conviction actions is a stringent
one.” Schultz v. Slate, 151 Idaho 383, 386, 256 P.3d 791, 794 (2011); see also Mahler vy. State,
157 Idaho 212, 215, 335 P.3d 57, 60.(2014) (noting bar for equitable tolling in post-conviction
cases is high). Equitable tolling is allowed if'a petitioner is unable to timely file a petition for
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unlawful state action has hidden from the petitioner the facts underlying the claim. Scfu/tz, 151
Idaho at 386, 256 P.3d at 794; see also. Mahler, 157 Idaho at 215, 335 P.3d at 60 (noting courts
only apply equitable tolling in rare and exceptional circumstances beyond petitioner's control),
Equitable tolling is not allowed for “‘a petitioner's. own inaction.” Sc/mliz, 151 Idaho at 386, 256
P.3d at 794.

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The petitioner bears the burden of showing the circumstances warrant the tolling of the
one-year-statute of limitation, Kriebel v, State, 148 Idaho 188, 190, 219-P.3d 1204, 1206 (Ct.
App. 2009). Petitioner has made no effort to carry this burden in his Petition. He has not
identified what material facts he just learned of, how those facts relate to his claims, or why he
was only able to get his file from the Ada County Public Defender sixty days prior to filing the
Petition. Moreover, the Court notes that the claims alleged in the Petition overlap significantly
with those brought in the First Petition, thus indicating that they are not based new information,
but material that Petitioner has long known. Consequently, even if Petitioner expressly raised
equitable tolling in his Petition to excuse its untimeliness, he has not presented any information
supporting this argument.’

B. The Claims.are Bare and Conclusory, Unsupported by Evidence.

As noted, a petition for post-conviction relief must present or be accompanied by
admissible evidence supporting its allegations, or it will’be subject to dismissal. Wolf, 152 Idaho
at 67, 266 P.3d at 1172; Roman, 125 Idaho at 647, 873 P.2d at 901. This means that affidavits,
records or other evidence supporting the allegations ina petition must be attached, or the petition
must state why such supporting evidence is not included, 1.C, § 19-4903.

Here, Petitioner has made no effort to support his claims with any facts and evidence,
Rather, he makes conclusory allegations without any substance, such as alleging his counsel:
failed to “subpoena pertinent information” (Pet., { 7(E)); counsel failed to “discover issues
he/she was told about in numerous letters (/d.; § 7(F); counsel “withheld favorable information”
(Id., | 7(1)); counsel failed to object “to certain information in the Defendant’s PSI” (/d., J 7(J)),
and; counsel “failed to dispute mental! health findings and reports” (/d., | 7(K)). These are simply
examples highlighting the deficiencies; each claim asserted by Petitioner is similarly vague.
Further, not one claim is supported admissible evidence. Thus, summary dismissal of the claims
is warranted,

Vv. CONCLUSION

Based on the foregoing analysis, this Court is satisfied that Petitioner is not entitled to

4 Petitioner also contends that ‘[s]ubject to the provisions of section 19-4902(a) through (f) Idaho Code that the
petitioner is innocent of the offence.” Petition, § 7(c), To the extent he is asserting innocence as a basis to toll the
statute of limitations, the Idaho Supreme Court recently clarified that a claim of innocence under Schlup v, Delo, 513
U.S. 298 (1995) does not apply in noncapital state post-conviction cases. /ovley v, State, 2023 WL 2604004, at *8
(Idaho Mar. 23, 2023),

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post-conviction relief and.no purpose would be served by any further proceedings. He is hereby.
allowed twenty (20) days from the date of the filing of this Order to reply to the grounds for
dismissal cited herein. If he does not submit a reply, or if his reply. fails to raise a genuine issue:

of material fact, the Court will order dismissal on the grounds cited herein.

IT IS SO ORDERED,

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DATED this day of Tome, 2023,

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CERTIFICATE OF SERVICE

Thereby certify that on uly f AWWA ,

the NOTICE OF INTENT TO GISMISS to:

I mailed (served) a true and correct copy of

[ADA COUNTY PROSECUTOR'S OFFICE
VIA EMAIL: acpocourtdocs@adacounty.id.gov

() U.S. Mail, Postage Prepaid
( ) Interdepartmental Mail
(X) Electronic Mail

( ).Facsimile

‘Michael Demoura

IDOC No, 65065

| Idaho State Correctional Institute
P.O. Box 14

Boise, ID 83707

“(X) USS. Mail, Postage Prepaid

( ) Interdépartmental Mail

(_) Electronic Mail
(_ ) Facsimile

, ADA COUNTY PUBLIC DEFENDER’S OFFICE
VIA EMAIL: public.defender@adacounty.id.gov

( ) U.S. Mail, Postage Prepaid

(_) Interdepartmental Mail

(X) Electronic Mail
(_ ) Facsimile

TRENT JRIPPLE™«.,,
Clerk of the Di beatae,

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Plaintiff/Defendant
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Plaintiff/Petitioner, CASENO. CV - O1- 23-6292 25°

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I certify under penalty of perjury pursuant to the law of the State of Idaho that the foregoing is
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JUL 14. 2023

TRENT TRIPPLE, Clerk
IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT OF “PHPINNA Me MEYER

‘STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

MICHAEL N. DEMOURA,
Petitioner, Case No. CV01-23-09325.
vs. ORDER ON MOTION FOR
DISQUALIFICATION
STATE OF IDAHO,
Respondent:

‘Before the Court is Petitioner’s motion under IRCP 40(b) to disqualify this Court for
cause. A denial of a disqualification motion is reviewed for an abuse of discretion. Lamon v.
State, 143 Idaho 763, 765, 152 P.3d 634, 636 (Ct. App. 2006) (citation omitted). On
discretionary matters, the trial court must: (1) correctly perceive the issues as discretionary; (2)
act within the outer boundaries of its discretion; (3) act.consistently with.the legal standards
applicable to the specific choices available to it; and (4) reach its decision by the exercise of
reason. Stale v. Le Veque, 164 Idaho 110, 113, 426 P.3d 461, 464 (201 8).!

Petitioner’s motion invokes IRCP 40(b)(1)(D), which provides: “[a] party to an action
may disqualify a Judge for cause [if] ... the judge is biased or prejudiced for or against any party
or the subject matter of the action.” There is a “strong presumption” that a judge is not biased or
prejudiced, Sivak v, Hardison, 658 F.3d 898, 924 (9th Cir. 2011). “A judge may not be
disqualified for prejudice unless it is shown that the prejudice is directed against the party and is
of such nature and character as would render it improbable” that the party would receive a fair
and impartial trial. Pizzuto v, State, 134 Idaho 793, 799, 10 P.3d 742, 748 (2000), In post-
conviction proceedings, allegations of prejudice “must state facts that do more than simply

explain the course of events involved in a criminal trial.” /d. Taking guidance from the United

l As required by IRCP 7(b)(3)(D), Petitioner did not indicate on the face of the motion: whether oral argument was
desired. Because he has not requested oral argument, the Court may deny the motion without further notice upon
determining it does not have merit, IRCP 7(b)(3)(E).

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States Supreme ‘Court, the Idaho Supreme Court has observed that “judicial rulings alone almost
‘never constitute valid basis for a bias or partiality motion ... and can only.in the rarest
.circumstances evidence the degree of favoritism or antagonism required[.]” Bach v, Bagley, 148.
Idaho 784, 229 P.3d 1146 (2010) (quoting Liteky v. United States, 510 U.S. 540 (1994)).

Here, Petitioner asserts in his affidavit. accompanying his motion.that this Court is biased
or prejudiced against him primarily based'on actions and. comments allegedly made by the Court
during the December 15, 2015 sentencing hearing in his underlying criminal case, State v:
Demoura, Ada County Case No. CR-FE-2015-6232. Specifically, Petitioner claims this Court: 1).
considered a-ptior felony in Petitioners criminal history that had been dismissed and made
references to the “violent naturé” of that dismissed charge;.2) made references to Petitioner’s
“criminal behavior, violent behavior, and his long standing contemptuous behavior,” ‘and; 3)
considered other, unidentified information that had been “dismissed.” He also states that this
Court is prejudiced and biased because it is accused of'mistakes and errors in the post-conviction
petition.

initially, the Court notes that Petitioner has not identified what prior felony and other
information the Court allegedly considered that had been “dismissed,” nor has he identified any
statements by the Court referring to his criminal, violent or contemptuous behavior, Absent proof
from the record, Petitioner cannot carry his burden of demonstrating prejudice or bias such that it
would make it improbable for him to receive a fair ruling in-this case.

Even assuming the Court did refer to Petitioner’s behavior as criminal, violent or
contemptuous, these are not personal opinions but rather factual observations that are part and
parcel of the sentencing process, Moreover, judicial remarks during the course of a proceeding
that are critical of, disapproving of or even hostile to a party do not ordinarily support a bias
challenge. State v. Dunlap, 155 Idaho 345, 391, 313.P,3d 1, 47 (2013) (citing Liteky, 510 U.S. at
555-56);

Further, any alleged error by the Court in considering “dismissed” information in
sentencing would be proper grounds for appeal in the underlying criminal case, not for
disqualification on post-conviction. Error is not synonymous with or indicative or prejudice.
Moreover, Petitioner did appeal his sentence, which was affirmed. See, State y. Demoura, 2017

WL 128581 (Idaho Ct. App., Jan. 13, 2017).

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Finally, Petitioner cannot-assume that the Court will-be biased or prejudiced against him:
in this action simply because he accuses the Court of errors in his post-conviction action. He
must demonstrate that bias or prejudice against-him actually exists and is of sucha degree that it
would render it improbable of receiving g fair determination in his post-conviction proceeding.

Having failed to make such ‘a showing, his motion for disqualification is DENIED.

~ ITIS SO ORDERED.

ID. a
‘DATED tig 2d of July, 2023.

Stéven Hippler
Distt Judgé oo

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CERTIFICATE OF SERVICE

I hereby certify that on.

, | mailed (served):a true and correct copy of

the ORDER DENYING MOTIG Y iF OR DISQUALIFICATION tor.

ADA COUNTY PROSECUTOR'S OFFICE
VIA EMAIL: acpocourtdocs@adacounty.id.gov

()U.S. Mail, Postage Prepaid
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| Michael Demoura

| IDOC No. 65065

| Idaho State Correctional Institute
| P.O. Box 14

| Boise, ID 83707

(X) U.S. Mail, Postage Prepaid
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VIA EMAIL: public.defender@adacounty.id.gov

( ) U.S. Mail, Postage Prepaid
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TRENT TRIPPLE

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Plaintiff/Defendant (circle one)

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ADA COUNTY PUBLIC DEFENDER.
Attorney for Defendant-Appellant

Teri Jones

Deputy Public Defender

200 West Front Street, Suite 1107

Boise, Idaho 83702

Telephone: (208) 287-7400

Facsimile: (208) 287-7409

IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT OF
THE STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

STATE OF IDAHO,
. Case No. CR-FE-2015-0006232
Plaintiff-Respondent,
ORDER APPOINTING STATE.
vs. APPELLATE PUBLIC DEFENDER
ON DIRECT APPEAL

MICHAEL NORMAN DEMOURA,

Defendant-Appellant,

The Defendant has elected to pursue a direct appeal in the above-entitled matter, The:
Defendant being indigent and having heretofore been represented by the Ada-County Public.

Defender’s Office in the District Court, the Court finds that, under these circumstances,
appointment of appellate counsel is justified: The Idaho State Appellate Public Defender
shall be appointed to represent the.above-named Defendant in all matters pertaining to the
direct appeal.

IT IS SO ORDERED.

DATED this. _ day of July 2016.

STEVEN J. HIPPLER
District Judge

ORDER APPOINTING STATE APPELLATE PUBLIC DEFENDER ON DIRECT APPEAL 1

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CERTIFICATE OF MAILING

I, CHRISTOPHER D, ‘RICH, the undersigned authority, do hereby certify that I have -
mailed one copy of the Order Appointing State Appellate Public Defender on Direct Appeal
as notice pursuant to the Idaho Rules ‘to each of the parties of record in this case in
envelopes addressed as follows:

Idaho Attorney General

Criminal Division

Joe R. Williams Bldg, 4" Fir,

Statehouse Mail

Idaho State Appellate Public Defender

PO Box 2816

Boise, ID'83701

Daniel Dinger .

Ada County Prosecutor's Office

Interdepartmental Mail

Ada County Public Defender’s Office
Attn: Katie Van Vorhis

Interdepartmental Mail
CHRISTOPHER D, RICH
Clerk of the District Court
Ada County, Idaho
Date: By. _
Deputy Clerk

ORDER APPOINTING STATE APPELLATE PUBLIC DEFENDER ON DIRECT APPEAL 2

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COPY

ADA COUNTY PUBLIC DEFENDER
Attomey for Defendant-Appellant

Teri Jones

Deputy Public Defender

200 West Front Street, Suite 1107
Boisé, Idaho 83702

Telephone: (208) 287-7400
Facsimile: (208) 287-7409

IN THE DISTRICT COURT OF THE FOURTH JUDICIAL DISTRICT OF
THE STATE OF IDAHO, IN AND FOR THE COUNTY OF ADA

STATE OF IDAHO,
. Case No. CR-FE-2015-0006232
Plaintiff-Respondent,
NOTICE.OF APPEAT,
VS..
MICHAEL NORMAN DEMOURA,
Defendant-Appellant.

TO: THE ABOVE-NAMED RESPONDENT, STATE OF IDAHO, AND THE.CLERK
OF THE. ABOVE-ENTITLED COURT

NOTICE IS HEREBY GIVEN THAT:

1) The above-named Appellant appeals against the above-named Respondent to the
Idaho Supreme Court from the final decision and order entered against him in
the above-entitled action on July 29, 2016, the Honorable Steven J. Hippler,
District Judge, presiding.

2) That the party has a right to appeal to the Idaho Supreme Court, and the
judgments or orders described in paragraph 1 above are appealable orders under
and pursuant to LA.R. 11(c)(1-10).

3) A preliminary statement of the issues on appeal, which the Appellant then
intends to assert in the appeal, provided any such list of issues on appeal shall not
prevent the Appellant from asserting other issues on appeal is:

a) Did the district court abuse its discretion by imposing an excessive
sentence?

NOTICE OF APPEAL 1

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4). There is.a portion of the record that is sealed. ‘The portion of the record that is
sealed i is the grand jury transcript and the presentence investigation report (PSI):

5) Reporter’s Transcript. The Appellant requests. the preparation of the entire
reporter’s standard transcript. as defined by 1A. R.. 25(d). The Appellant also.
requests the preparation of the additional portions of the reporter's transcript:

a) Entry of plea held October 28, 2015 (Court Reporter: Christie Valcich,
Estimated pages: 100);

b) Sentencing hearing held December 15, 2015 (Court Reporter: Christie
Valcich, Estimated pages: 100);

c) Rider review ‘hearing held June 29, 2016 (Court Reporter: Christie
Valcich, Estimated pages: 100):

6) Clerk’s Record. The Appellant requests the standard clerk’s record. pursuant to.
LAR. 28(b)(2). In addition to those documents automatically included under
LA.R. 28(b)(2),, the Appellant also. requests that any exhibits, including. but not
limited to letters or victim.impact statements, addenda to the PSI, or other items
offered at the sentencing hearing be included in the Clerk’s Record:

7) I certify:

a) That a copy ‘of this Notice of Appeal has been served on the Court
Reporter(s) mentioned in paragraph 5 above}.

b) That the Appellant is exempt from paying the estimated fee for the
preparation of the record because the Appellant is indigent (1.C. §§ 31-
3220, 31-3220A, I.A.R. 24(e));

¢): That there is no appellate filing fee since this is an appeal in a criminal
ease (I,C, §§ 31-3220, 31- 3220A, I.A.R. 23(a)(8));

d) That Ada County will be responsible for paying for the reporter's
transcript(s), as the client is indigent (I.C. §§ 31-3220, 31-3220A, LAR.
24(¢)); and

é) That service has been made upon all parties required tobe served pursuant

to LA.R. 20.
DATED this LA day of July 2016. j 3)
TERI JONES |
Attorney for Defendgnf-Appellant
NOTICE OF APPEAL 2

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CERTIFICATE OF MAILING
I HEREBY CERTIFY that on this XY “| day of July 2016, I mailed (served) a true and
correct copy of the within instrument to:
Idaho Attorney General
Criminal Division —
Joe R. Williams Bldg., 4" Flr.
‘Statehouse Mail

Idaho State Appellate Public Defender
PO Box 2816

Boise, ID 83701

Christie Valcich

Court Reporter __

Interdepartmental Mail

Daniel Dinger .

Ada County Prosecutor's Office
Interdepartmental Mail

(at Virus

Katie Van Vorhis

NOTICE OF APPEAL 3

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OFFICE OF THE ADA COUNTY PUBLIC DEFENDER

CHIEF PUBLIC DEFENDER
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Anthony Geddes
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Fax; (208) 287-7409 ‘Fax: (208) 287-7419 “Fax: (208) 287-7419 Fax: (208) 577-4939 Fax: (208) 287-7154
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Steven Botimner Cassandra Gray Joshua Wickard N. Gene Alexander . nm Anzuon
Eric Rolfsen Kevin Rogers Tahja Jensen Alan Malone Gina Mike}son
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TRIAL ATTORNEYS Adam Kimball Darby Lewis
David Simonaitis Anita Moore ,
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David Stewart
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Daniel Taylor
lan Thomson

July.29, 2016
CONFIDENTIAL. LEGAL MAIL
* A

Michael Demoura
41821 S, Hwy 3
St.'Maries, ID 83861

Re: Appeal of Case No, CR-FE-2015-0006232
Mr. Demoura:

Please be advised that I have filed an appeal on your behalf,.a copy of which is enclosed. Your
appéal will be handled by:

State Appellate Public Defender

PO Box 2816

Boise, Idaho 83701

(208) 334-2712
All correspondence regarding your appeal should be directed to that office.
Sincerely,

Dictated and sent without signature to avoid delay.

Teri Jones
Deputy Public Defender

TKI: kevv

Enclosures

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